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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                                                 )   Criminal No. 24cr10090
UNITED STATES OF AMERICA
                                                 )
                                                 )   Violations:
             v.
                                                 )
                                                 )   Count One: Conspiracy to Distribute and to
(1) JASON HUNTER and                                 Possess with Intent to Distribute Controlled
                                                 )
(2) WALTER NORTON,                                   Substances
                                                 )
                                                 )   (21 U.S.C. § 846)
                  Defendants
                                                 )
                                                 )   Count Two: Possession with Intent to
                                                 )   Distribute and Distribution of 500 Grams or
                                                 )   More of a Mixture and Substance Containing
                                                 )   Methamphetamine, 500 Grams or More of
                                                 )   Cocaine, and Other Controlled Substances
                                                 )   (21 U.S.C. §§ 84l(a)(l), 841(b)(l)(A)(viii) and
                                                 )   841(b)(l)(B)(ii))
                                                 )
                                                 )   Count Three: Possession with Intent to
                                                 )   Distribute 500 Grams or More of a Mixture and
                                                 )   Substance Containing Methamphetamine and
                                                 )   Marijuana
                                                 )   (21 U.S.C. §§ 841(a)(l) and 841(b)(l)(A)(viii))
                                                 )
                                                 )   Count Four: Money Laundering Conspiracy
                                                 )   (18 U.S.C. § 1956(h))
                                                 )
                                                 )   Drug Forfeiture Allegation:
                                                 )   (21 u.s.c. § 853)
                                                 )
                                                 )
                                                     Money Laundering Forfeiture Allegation:
                                                 )
                                                 )   (18 U.S.C. § 982(a)(l))

                                     INDICTMENT

                                      COUNT ONE
             Conspiracy to Distribute and to Possess with Intent to Distribute
                                  Controlled Substances
                                    (21 U.S.C. § 846)

The Grand Jury charges:
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                                    /s/Douglas Warnock
                                                    1:45 PM
